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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


        -v-
                                                                 No. 18-cr-373 (RJS)
                                                                      ORDER
 MAURICE CURTIS,

                                Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

       IT IS HEREBY ORDERED THAT the parties shall appear for a guilty plea on a

superseding information on November 16, 2020 at 9:00 a.m. Because the Court understands that

it is Defendant Maurice Curtis’s preference to proceed remotely in light of the ongoing COVID-

19 pandemic, the proceeding will occur using the CourtCall videoconference platform. In

addition, due to the flexibility required to accommodate the planning of proceedings involving

detained individuals, the Court will reserve (and the parties shall calendar) November 17, 2020 at

9:00 a.m. as an alternative date for the proceeding. The Court will email the parties directly with

instructions for accessing the CourtCall conference. A separate order will follow containing

instructions for members of the public to monitor the proceedings.

       If possible, defense counsel shall discuss the attached Waiver of Right with Curtis prior to

the proceeding. If Curtis consents, and is able to sign the form (either personally or by defense

counsel), defense counsel shall provide the Court with the executed form at least 24 hours prior to

the proceeding. In the event that Curtis consents, but counsel is unable to obtain or affix Curtis’s
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signature on the form, the Court will conduct an inquiry at the outset of the proceeding to determine

whether it is appropriate for the Court to add Curtis’s signature to the form.

SO ORDERED.

Dated:         November 9, 2020
               New York, New York


                                                      RICHARD J. SULLIVAN
                                                      UNITED STATES CIRCUIT JUDGE
                                                      Sitting by Designation




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                               WAIVER OF RIGHT TO BE PRESENT
                               -v-                                             AT CRIMINAL PROCEEDING
MAURICE CURTIS,
                                           Defendant.                          18-CR-373 (RJS)
-----------------------------------------------------------------X

Check Proceeding that Applies

____      Entry of Plea of Guilty

          I am aware that I have been charged with violations of federal law. I have consulted with my
          attorney about those charges. I have decided that I wish to enter a plea of guilty to certain
          charges. I understand I have a right to appear before a judge in a courtroom in the Southern
          District of New York to enter my plea of guilty and to have my attorney beside me as I do. I am
          also aware that the public health emergency created by the COVID-19 pandemic has interfered
          with travel and restricted access to the federal courthouse. I have discussed these issues with my
          attorney. By signing this document, I wish to advise the court that I willingly give up my right to
          appear in person before the judge to enter a plea of guilty. By signing this document, I also wish
          to advise the court that I willingly give up any right I might have to have my attorney next to me
          as I enter my plea so long as the following conditions are met. I want my attorney to be able to
          participate in the proceeding and to be able to speak on my behalf during the proceeding. I also
          want the ability to speak privately with my attorney at any time during the proceeding if I wish to
          do so.



Date:                _________________________                       ____________________________
                     Print Name                                      Signature of Defendant



____      Sentence

          I understand that I have a right to appear before a judge in a courtroom in the Southern District
          of New York at the time of my sentence and to speak directly in that courtroom to the judge who
          will sentence me. I am also aware that the public health emergency created by the COVID-19
          pandemic has interfered with travel and restricted access to the federal courthouse. I do not wish
          to wait until the end of this emergency to be sentenced. I have discussed these issues with my
          attorney and willingly give up my right to be present, at the time my sentence is imposed, in the
          courtroom with my attorney and the judge who will impose that sentence. By signing this
          document, I wish to advise the court that I willingly give up my right to appear in a courtroom in
          the Southern District of New York for my sentencing proceeding as well as my right to have my
          attorney next to me at the time of sentencing on the following conditions. I want my attorney to
          be able to participate in the proceeding and to be able to speak on my behalf at the proceeding.
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        I also want the ability to speak privately with my attorney at any time during the proceeding if I
        wish to do so.


Date:           _________________________                ____________________________
                Print Name                               Signature of Defendant

I hereby affirm that I am aware of my obligation to discuss with my client the charges against my client,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and
this waiver and consent form. I affirm that my client knowingly and voluntarily consents to the
proceedings being held with my client and me both participating remotely.


Date:           __________________________               _____________________________
                Print Name                               Signature of Defense Counsel



Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also
translated this document, in its entirety, to the defendant before the defendant signed it. The
interpreter’s name is: _______________________.


Date:           _________________________
                Signature of Defense Counsel




Accepted:       ________________________
                Signature of Judge
                Date:




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